                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR09-0075-LRR
 vs.                                             ORDER REGARDING MOTION
                                                 FOR SENTENCE REDUCTION
 JOSE EDUARDO VICTOR,
                                                       PURSUANT TO
               Defendant.                           18 U.S.C. § 3582(c)(2)




       Regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the court
held a hearing on May 6, 2015. Consistent with the findings that the court made during
the hearing concerning Amendment 782 (subject to subsection (e)(1)), the court concludes
that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not justified. After
thoroughly reviewing the defendant’s file, the provisions and commentary of USSG
§1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the nature and seriousness of the
danger to any person or community that may be posed by a reduction in the defendant’s
term of imprisonment and the defendant’s post-sentencing conduct, the court declined to
exercise its discretion under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10.1 Accordingly,
the defendant’s motion to reduce sentence (docket no. 88) is denied. The clerk’s office
is directed to send a copy of this order to the defendant and provide a copy of this order
to appointed counsel, the office of the Federal Public Defender, the office of the United



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          The court notes that the sentence that the defendant is currently serving is
appropriate for multiple reasons. Those reasons include, but are not limited to, the
following: the history and characteristics of the defendant, the defendant’s poor
institutional adjustment, which includes violence toward others, the need to protect the
public and 87 months imprisonment is within the amended guideline range.

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States Attorney and the office of United States Probation.
      IT IS SO ORDERED.
      DATED this 7th day of May, 2015.




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